Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 1 of 13 PageID 1




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

  RICHARD DeCOURSY,

     Plaintiff,                                      CASE NO.:

  -VS-

  OCWEN LOAN SERVICING, LLC
  And BROCK & SCOTT, PLLC,

     Defendants.
                                         /

                                 COMPLAINT
                         AND DEMAND FOR TRIAL BY JURY

         Plaintiff, RICHARD DeCOURSY (“Mr. DeCoursy” or “Plainitff”) alleges

 violation of the Federal Fair Debt Collection Practices Act, 15 U.S.C. §1692, et. seq.

 (“FDCPA”) and Florida’s Consumer Collections Practices Act, Florida Statutes, §559, Part

 VI, et. seq. (“FCCPA”), against Defendants, OCWEN LOAN SERVICING, LLC and

 BROCK & SCOTT, PLLC (collectively “Defendants”).

                                     INTRODUCTION

         1.       The FDCPA was enacted as an amendment to the Consumer Credit

 Protection Act. Its purpose is to “eliminate abusive debt collection practices by debt

 collectors.” Debt collectors are prohibited from threatening or harassing debtors, and their

 contacts with debtors are restricted. 15 U.S.C. §1692(e).

         2.       The FCCPA was devised as a means of regulating the activities of consumer

 collection agencies within the state of Florida to combat a series of abuses in the area of




                                              1
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 2 of 13 PageID 2




 debtor-creditor relations and to assist consumers experiencing debt harassment or abusive

 debt collection practices.

                                JURISDICTION AND VENUE

            3.   Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. §1331 and pursuant to 15 U.S.C. §1692k(d), and pursuant to 28

 U.S.C. §1367 for pendent state law claims.

        4.       The alleged violations described herein occurred in Pasco County, Florida.

 Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

 judicial district in which a substantial part of the events or omissions giving rise to this

 action occurred.

                                FACTUAL ALLEGATIONS

        5.       Plaintiff is a natural person, and citizen and resident of Pinellas County,

 Florida.

        6.       Defendant, Ocwen Loan Servicing, LLC (“Ocwen”) is a debt collection

 company providing its services throughout the State of Florida, including Pinellas County,

 Florida.

        7.       Defendant, Brock & Scott, PLLC (“B&S”) is a law firm providing debt

 collection services throughout the State of Florida, including Pinellas County, Florida.

        8.       All references to any of the Defendants named herein shall also include any

 of Defendants’ predecessors.

        9.       Ocwen services a debt for which Plaintiff was the debtor, namely the loan

 on Plaintiff’s homestead property (the “Alleged Debt”).



                                              2
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 3 of 13 PageID 3




         10.     On or about October 25, 2018, Defendants sent Plaintiff a pay-off demand

 seeking to collect illegal and improper amounts (the “Pay-Off Demand”). A true and

 correct copy of the Pay-Off Demand is attached hereto as Exhibit “A” and its contents are

 incorporated by reference herein.

         11.     In particular, Defendants seek to collect amounts with respect to the Alleged

 Debt that are either overstated, overinflated, illegal and/or otherwise not permitted by

 applicable law and/or the underlying agreement between the parties to charge such illegal

 and improper amounts.

         12.     Such illegal and improper amounts largely result from Defendants

 attempting or seeking to collect attorneys’ and/or court costs from a previous foreclosure

 case that it lost against Plaintiff, as Plaintiff was ruled to be the prevailing party in said

 prior foreclosure action.

         13.     Defendants never attempted to recover their attorneys’ fees and costs in the

 prior foreclosure action as they were not the prevailing party, and they never filed a motion

 seeking to recover such fees and costs in the prior foreclosure action. As such, Defendants

 are barred from attempting to collect such attorneys’ fees and costs from Plaintiff now.

         14.     All conditions precedents to this action have been fulfilled, waived or

 performed.

                                          COUNT I
                                 (Mr. DeCoursy vs. Ocwen)
                                  (Violation of the FDCPA)

         15.     Mr. DeCoursy incorporates Paragraphs one (1) through fourteen (14) above

 as if fully set forth herein.



                                               3
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 4 of 13 PageID 4




        16.      This is an action against Ocwen for violations of the Federal Fair Debt

 Collection Practices Act 15 U.S.C. §1692, et. seq. (FDCPA), and for damages in excess of

 $15,000.00, exclusive of interest, court costs and attorneys’ fees.

        17.      At all times material hereto: (a) Mr. DeCoursy is a ‘consumer’ within the

 meaning of the FDCPA; (b) the Alleged Debt is a ‘debt’ within the meaning of the FDCPA;

 and (c) Ocwen is a ‘debt collector’ within the meaning of the FDCPA.

        18.      Ocwen engaged in consumer debt collection activities against Mr.

 DeCoursy in regards to amounts allegedly owed pursuant to a consumer debt within the

 meaning of the FDCPA (the “Debt Collection Conduct”).

        19.      The Debt Collection Conduct includes Ocwen’s demand for payment

 pursuant to the Pay-Off Demand which seeks to collect amounts that are overstated,

 overinflated and in violation of federal and Florida law, including but not limited to,

 excessive late charges, “corporate advances” which contain no break down or explanation

 as to same,” and a satisfaction cost which has not been incurred yet.

        20.      The Debt Collection Conduct includes Ocwen’s demand for payment

 pursuant to the Pay-Off Demand which seeks to collect attorney fees and costs relating to

 a prior cases against Mr. DeCoursy in which Mr. DeCoursy prevailed.

        21.      Ocwen’s Debt Collection Conduct as described herein is a violation of the

 following provisions: 15 U.S.C. §1692(e), 15 U.S.C. §1692(e)(2), and 15 U.S.C.

 §1692(e)(10), which provide:

              §1692(e) A debt collector may not use any false, deceptive, or misleading
              representation or means in connection with the collection of any debt. Without
              limiting the general application of the foregoing, the following conduct is a
              violation of this section:


                                               4
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 5 of 13 PageID 5




                 (2) The false representation of—
                    (A) the character, amount, or legal status of any debt……

                 (10) The use of any false representation or deceptive means to collect or
                 attempt to collect any debt or to obtain information concerning
                 a consumer.

         22.     Ocwen’s Debt Collection Conduct as described in this Count is a violation

 of 15 U.S.C. §1692(f) and (f)(1) which provide in pertinent part that “[a]debt collector

 may not use unfair or unconscionable means to collect or attempt to collect any debt.

 Without limiting the general application of the foregoing, the following conduct is a

 violation of this section:

                 (1) The collection of any amount (including any interest, fee, charge, or
                     expense incidental to the principal obligation) unless such amount is
                     expressly authorized by the agreement creating the debt or permitted
                     by law.


         23.     As a result of the Debt Collection Conduct and Ocwen’s violation of the

 FDCPA as described herein, Mr. DeCoursy has been injured.

         24.     Mr. DeCoursy is (a) is entitled to collect his attorney’s fees and costs

 pursuant to 15 U.S.C. §1692(k); (b) has retained the law firm of Stamatakis + Thalji +

 Bonanno in this action; and (c) is obligated to pay the law firm of Stamatakis + Thalji +

 Bonanno a reasonable fee for its services in bringing or defending in this case, as well as

 all costs of collections.

         WHEREFORE, Plaintiff, Mr. DeCoursy , respectfully requests relief in the form

 of: (i) actual damages, interest, court costs and attorney’s fees; (ii) statutory damages in the

 minimum amount of $1,000.00 per violation; (iii) a trial by jury; and (iv) such other and


                                                5
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 6 of 13 PageID 6




 further relief in law or equity that the Court deems just an appropriate under the

 circumstances.

                                           COUNT II
                                  (Mr. DeCoursy vs. Ocwen)
                                   (Violation of the FCCPA)

         25.      Mr. DeCoursy . incorporates Paragraphs one (1) through fourteen (14)

 above as if fully set forth herein.

         26.      This is an action against Ocwen for violations of Florida’s Consumer

 Collections Practices Act, Florida Statutes, §559, Part VI, et. seq. (FCCPA), and for

 damages in excess of $15,000.00, exclusive of interest, court costs and attorneys’ fees.

         27.      At all times material hereto: (a) Mr. DeCoursy is a ‘debtor’ or ‘consumer’

 within the meaning of the FCCPA; (b) the sued-upon debt is a ‘debt’ or ‘consumer debt’

 within the meaning of the FCCPA; and (c) Ocwen is a ‘person’ within the meaning of the

 FCCPA.

         28.      The Alleged Debt is a “consumer debt,” as defined by Florida Statutes,

 §559.55(1), in that some or all of the debt is an obligation allegedly incurred by Mr.

 DeCoursy for personal, family or household purposes, namely his homestead.

         29.      Ocwen is engaged in the business of soliciting consumers for debts and

 collecting consumer debts and is, therefore, subject to Florida Statutes, §559.55 et seq.

         30.      Ocwen engaged in consumer debt collection activities against Mr.

 DeCoursy in regards to amounts allegedly owed pursuant to a consumer debt within the

 meaning of the FCCPA (the “Debt Collection Conduct”).


                                               6
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 7 of 13 PageID 7




        31.     The Debt Collection Conduct includes Ocwen’s demand for payment

 pursuant to the Pay-Off Demand which seeks to collect amounts that are overstated,

 overinflated and in violation of federal and Florida law, including but not limited to,

 excessive late charges, “corporate advances” which contain no break down or explanation

 as to same,” and a satisfaction cost which has not been incurred yet.

        32.     The Debt Collection Conduct includes Ocwen’s demand for payment

 pursuant to the Pay-Off Demand which seeks to collect attorney fees and costs relating to

 a prior cases against Mr. DeCoursy in which Mr. DeCoursy prevailed.

        33.     The Pay-Off Demand constitutes “communication” as defined by Florida

 Statutes, §559.55(5).

        34.     Ocwen’s Debt Collection Conduct as described in this Count is a violation

 of Florida Statutes, §559.72(9) which makes it unlawful to “[c]laim, attempt, or threaten

 to enforce a debt when such person knows that the debt is not legitimate or assert the

 existence of some other legal right when such person knows that the right does not exist.”

        35.     Ocwen’s business practices and actions were either intentional or grossly

 negligent.

        36.     As a result of the Debt Collection Conduct and Ocwen’s violation of the

 FCCPA, Mr. DeCoursy has been damaged, and Ocwen is liable to Mr. DeCoursy for actual

 damages and statutory damages pursuant to Florida Statutes, §559.77.

        37.     Mr. DeCoursy is (a) is entitled to collect his attorney’s fees and costs

 pursuant to the Florida Statutes, §559.77(2); (b) has retained the law firm of Stamatakis +

 Thalji + Bonanno in this action; and (c) is obligated to pay the law firm of Stamatakis +



                                              7
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 8 of 13 PageID 8




 Thalji + Bonanno a reasonable fee for its services in bringing or defending in this case, as

 well as all costs of collections.

         38.     All conditions precedent to this action have occurred, have been satisfied,

 or have been waived.

         WHEREFORE, Plaintiff, Mr. DeCoursy, respectfully requests relief in the form of:

 (i) actual damages, interest, court costs and attorney’s fees pursuant to Florida Statutes, §

 559.77(2); (ii) statutory damages in the minimum amount of $1,000.00 per violation; (iii)

 a trial by jury; and (iv) such other and further relief that this Court deems just and proper

 under the circumstances.

                                            COUNT III
                                      (Mr. DeCoursy vs. B&S)
                                     (Violation of the FDCPA)

         39.     Mr. DeCoursy incorporates Paragraphs one (1) through fourteen (14) above

 as if fully set forth herein.

         40.     This is an action against B&S for violations of the Federal Fair Debt

 Collection Practices Act 15 U.S.C. §1692, et. seq. (FDCPA), and for damages in excess of

 $15,000.00, exclusive of interest, court costs and attorneys’ fees.

         41.     At all times material hereto: (a) Mr. DeCoursy is a ‘consumer’ within the

 meaning of the FDCPA; (b) the Alleged Debt is a ‘debt’ within the meaning of the FDCPA;

 and (c) B&S is a ‘debt collector’ within the meaning of the FDCPA.

         42.     B&S engaged in consumer debt collection activities against Mr. DeCoursy

 in regards to amounts allegedly owed pursuant to a consumer debt within the meaning of

 the FDCPA (the “Debt Collection Conduct”).



                                                8
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 9 of 13 PageID 9




         43.      The Debt Collection Conduct includes B&S’ demand for payment pursuant

 to the Pay-Off Demand which seeks to collect amounts that are overstated, overinflated

 and in violation of federal and Florida law, including but not limited to, excessive late

 charges, “corporate advances” which contain no break down or explanation as to same,”

 and a satisfaction cost which has not been incurred yet.

         44.      The Debt Collection Conduct includes B&S’ demand for payment pursuant

 to the Pay-Off Demand which seeks to collect attorney fees and costs relating to a prior

 cases against Mr. DeCoursy in which Mr. DeCoursy prevailed.

         45.      B&S’ Debt Collection Conduct as described herein is a violation of the

 following provisions: 15 U.S.C. §1692(e), 15 U.S.C. §1692(e)(2), and 15 U.S.C.

 §1692(e)(10), which provide:

               §1692(e) A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt. Without
               limiting the general application of the foregoing, the following conduct is a
               violation of this section:

                  (2) The false representation of—
                     (A) the character, amount, or legal status of any debt……

                  (10) The use of any false representation or deceptive means to collect or
                  attempt to collect any debt or to obtain information concerning
                  a consumer.

         46.      B&S’ Debt Collection Conduct as described in this Count is a violation of

 15 U.S.C. §1692(f) and (f)(1) which provide in pertinent part that “[a]debt collector may

 not use unfair or unconscionable means to collect or attempt to collect any debt. Without

 limiting the general application of the foregoing, the following conduct is a violation of

 this section:



                                               9
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 10 of 13 PageID 10




                   (1)    The collection of any amount (including any interest, fee, charge,
                   or expense incidental to the principal obligation) unless such amount is
                   expressly authorized by the agreement creating the debt or permitted by
                   law.


          47.      As a result of the Debt Collection Conduct and B&S’ violation of the

  FDCPA as described herein, Mr. DeCoursy has been injured.

          48.      Mr. DeCoursy is (a) is entitled to collect his attorney’s fees and costs

  pursuant to 15 U.S.C. §1692(k); (b) has retained the law firm of Stamatakis + Thalji +

  Bonanno in this action; and (c) is obligated to pay the law firm of Stamatakis + Thalji +

  Bonanno a reasonable fee for its services in bringing or defending in this case, as well as

  all costs of collections.

          WHEREFORE, Plaintiff, Mr. DeCoursy, respectfully requests relief in the form of:

  (i) actual damages, interest, court costs and attorney’s fees; (ii) statutory damages in the

  minimum amount of $1,000.00 per violation; (iii) a trial by jury; and (iv) such other and

  further relief in law or equity that the Court deems just an appropriate under the

  circumstances.

                                          COUNT IV
                                    (Mr. DeCoursy vs. B&S)
                                   (Violation of the FCCPA)

          49.      Mr. DeCoursy incorporates Paragraphs one (1) through fourteen (14) above

  as if fully set forth herein.

          50.      This is an action against B&S for violations of Florida’s Consumer

  Collections Practices Act, Florida Statutes, §559, Part VI, et. seq. (FCCPA), and for

  damages in excess of $15,000.00, exclusive of interest, court costs and attorneys’ fees.

                                                10
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 11 of 13 PageID 11




         51.     At all times material hereto: (a) Mr. DeCoursy is a ‘debtor’ or ‘consumer’

  within the meaning of the FCCPA; (b) the sued-upon debt is a ‘debt’ or ‘consumer debt’

  within the meaning of the FCCPA; and (c) B&S is a ‘person’ within the meaning of the

  FCCPA.

         52.     The Alleged Debt is a “consumer debt,” as defined by Florida Statutes,

  §559.55(1), in that some or all of the debt is an obligation allegedly incurred by Mr.

  DeCoursy for personal, family or household purposes, namely his homestead.

         53.     B&S is engaged in the business of soliciting consumers for debts and

  collecting consumer debts and is, therefore, subject to Florida Statutes, §559.55 et seq.

         54.     B&S engaged in consumer debt collection activities against Mr. DeCoursy

  in regards to amounts allegedly owed pursuant to a consumer debt within the meaning of

  the FCCPA (the “Debt Collection Conduct”).

         55.     The Debt Collection Conduct includes B&S’ demand for payment pursuant

  to the Pay-Off Demand which seeks to collect amounts that are overstated, overinflated

  and in violation of federal and Florida law, including but not limited to, excessive late

  charges, “corporate advances” which contain no break down or explanation as to same,”

  and a satisfaction cost which has not been incurred yet.

         56.     The Debt Collection Conduct includes B&S’ demand for payment pursuant

  to the Pay-Off Demand which seeks to collect attorney fees and costs relating to a prior

  cases against Mr. DeCoursy in which Mr. DeCoursy prevailed.




                                               11
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 12 of 13 PageID 12




          57.     The Pay-Off Demand constitutes “communication” as defined by Florida

  Statutes, §559.55(5).

          58.     B&S’ Debt Collection Conduct as described in this Count is a violation of

  Florida Statutes, §559.72(9) which makes it unlawful to “[c]laim, attempt, or threaten to

  enforce a debt when such person knows that the debt is not legitimate or assert the existence

  of some other legal right when such person knows that the right does not exist.”

          59.     B&S’ business practices and actions were either intentional or grossly

  negligent.

          60.     As a result of the Debt Collection Conduct and B&S’ violation of the

  FCCPA, Mr. DeCoursy has been damaged, and B&S is liable to Mr. DeCoursy for actual

  damages and statutory damages pursuant to Florida Statutes, §559.77.

          61.     Mr. DeCoursy is (a) is entitled to collect his attorney’s fees and costs

  pursuant to the Florida Statutes, §559.77(2); (b) has retained the law firm of Stamatakis +

  Thalji + Bonanno in this action; and (c) is obligated to pay the law firm of Stamatakis +

  Thalji + Bonanno a reasonable fee for its services in bringing or defending in this case, as

  well as all costs of collections.

          62.     All conditions precedent to this action have occurred, have been satisfied,

  or have been waived.

          WHEREFORE, Mr. DeCoursy respectfully requests relief in the form of: (i) actual

  damages, interest, court costs and attorney’s fees pursuant to Florida Statutes, § 559.77(2);

  (ii) statutory damages in the minimum amount of $1,000.00 per violation; (iii) a trial by




                                               12
Case 8:19-cv-00186-WFJ-JSS Document 1 Filed 01/24/19 Page 13 of 13 PageID 13




  jury; and (iv) such other and further relief that this Court deems just and proper under the

  circumstances.

                                DEMAND FOR JURY TRIAL

         Plaintiff requests a trial by jury on all issues so triable.



                                          Respectfully submitted,

                                          STAMATAKIS + THALJI + BONANNO

                                          By: / s / Scott Stamatakis
                                          Scott D. Stamatakis, Esquire
                                          Florida Bar No.:178454
                                          Melissa Thalji, Esquire
                                          Florida Bar No.: 174467
                                          8751 N. Himes Ave
                                          Tampa, Florida 33614
                                          (813) 282-9330 (telephone)
                                          (813) 282-8648 (facsimile)
                                          Notice of Primary Email: Service@MyInjury.com
                                          Counsel for Plaintiff




                                                 13
